       Case 4:16-cr-00233-JM       Document 144       Filed 11/23/16     Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                        CASE NO. 4:16CR00233-11-JLH

ANTONIO MCNICHOLS                                                            DEFENDANT

                                         ORDER

       The Court has requested and received a transcript of the detention hearing held before

United States Magistrate Judge Joe J. Volpe on October 26, 2016. The Clerk of the Court

is hereby directed to issue a check to Robin Warbritton, Transcriptionist, in the amount of

$190.35. A copy of the invoice for transcription services is attached.

       IT IS SO ORDERED this 23rd day of November, 2016.




                                          _________________________________
                                          J. LEON HOLMES
                                          UNITED STATES DISTRICT JUDGE
              Case 4:16-cr-00233-JM                                      Document 144                            Filed 11/23/16                         Page 2 of 2



                                                                                      ORIGINAL
                                                                                       INVOICE


TO:                          United States District Court
                             Eastern District of Arkansas
                             (For Judge J. Leon Holmes)

INVOICE DATE:                               November 21, 2016                                                          INVOICE NO.: ARE17-XXX-XX-XXXX-6

TRANSCRIPT OF:                              Detention Hearing held on 10/26/2016

Case Name:                                  US"A v. Antonio McNichols

Case No.:                                   4:16-CR-00233-11-JLH

Hearing Date:                               10/26/2016

Presiding Judicial Officer:                                               Honorable Joe J. Volpe

Transcript Type: 7-day Expedited Original Transcript
Transcript Order Date: 11/14/2016
Transcript Order and Recording Received by Transcriber Date: 11/15/2016 (recording rec'd, ruling not on disk)
                                                               11/21/2016 (2nd recording of ruling rec'd)
Transcript Order Due Date: 11/22/2016 (7 days from receipt ofrecording & transcript order)
Transcript Completed/Delivery Date: 11/22/2016 (Via courier, Attn: Ms. Loma Jones, Courtroom Deputy)
Court's Copy of Transcript Delivered: 11/22/2016 (Via courier, Attn: Ms. Loma Jones, Courtroom Deputy)

              47 pages@ $4.05 per page (7 day expedited rate)                                                                                        $190.35

                                                           TOTAL DUE                                                                                 $190.35
REMIT TO:
Robin Warbritton
20 Liberty Road
Vilonia, AR 72173
(501) 796-6560
TIN: *****0725
rwarbritton@yahoo.com
Contract No: USDC-ARE-17-001


                                                                              TRANSCRIBER CERTIFICATION"

I certify that the transcnpt fees charged amt page fonnat used comply with the reqmrements of this court and the Judicial Conference of the Uruted States


~£.. ~
Signature ofTranscriber
                                                                                                        ll/21/2016
                                                                                                        Date
